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                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF MICHIGAN

LELAND FOSTER,                                   )
                                                 )
               Plaintiff,                        )   Case No. 1:16-cv-1272
v.                                               )
                                                 )
CENTRAL MICHIGAN INNS, INC., a                   )   Judge:
Michigan corporation for profit,                 )
                                                 )
                                                 )
                                                 )
               Defendant.                        )



               COMPLAINT FOR DAMAGES AND EQUITABLE RELIEF

       Plaintiff, LELAND FOSTER, individually, by and through the undersigned counsel,

Owen B. Dunn, Jr. and Valerie J. Fatica, Co-Counsel for Plaintiff, hereby files this Complaint

against Defendant CENTRAL MICHIGAN INNS, INC. for injunctive relief, damages,

attorneys’ fees, litigation expenses, and costs pursuant to the Americans with Disabilities Act, 42

U.S.C. § 12181 et seq. (“ADA”), alleging as follows:

                                 JURISDICTION AND VENUE

1.     This action is brought by the Plaintiff, Leland Foster, individually, and on behalf of

       individuals similarly situated, pursuant to the enforcement provision of the American

       with Disabilities Act of 1990 (the “ADA”), 42 U.S.C. § 12188(a), against the Defendant

       as delineated herein.

2.     The Court has jurisdiction pursuant to the following statutes: 28 U.S.C. § 1331, which

       governs actions that arise from the Defendant’s violations of Title III of the ADA, 42

       U.S.C. § 12181, et seq.; 28 U.S.C. § 1331, which gives the District Courts original


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      jurisdiction over civil actions arising under the Constitution, laws, or treaties of the

      United States; 28 U.S.C. § 1343(3) and (4), which gives District Courts jurisdiction over

      actions to secure civil rights extended by the United States government; and 28 U.S.C. §

      1367, as Counts II and III utilize the same core of operative facts as Count I, and are

      therefore subject to supplemental jurisdiction.

3.    Venue is proper in the Western District of Michigan as venue lies in the judicial district

      of the property situs. The Defendant’s property and operations complained of by Plaintiff

      are located in this judicial district, where the business of public accommodation is

      conducted, including the acts complained of herein.

                                          PARTIES

4.    Plaintiff, LELAND FOSTER (“Plaintiff”) is an Ohio resident, is sui juris, and qualifies

      as an individual with disability as defined by the ADA, 42 U.S.C. § 12102(2), 28 C.F.R.

      36.104.

5.    Defendant CENTRAL MICHIGAN INNS, INC. operates and owns a Holiday Inn

      Express & Suites located at 2209 University Park Dr, Okemos, MI 48864 in Ingham

      County. Plaintiff has patronized Defendant’s hotel and business as an overnight guest

      previously as a place of public accommodation.

6.    Upon information and belief, the facilities owned by CENTRAL MICHIGAN INNS,

      INC. are non-compliant with the remedial provisions of the ADA. As Defendant owns,

      leases, leases to, or operates a place of public accommodation as defined by the ADA and

      the regulations implementing the ADA, 28 CFR 36.201(a) and 36.104, Defendant is

      responsible for complying with the obligations of the ADA. Defendant’s facilities as a

      hotel and place of public accommodation fails to comply with the ADA and its

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      regulations, as also described further herein.

7.    Plaintiff is an individual diagnosed with cerebral palsy and permanently uses a

      wheelchair for mobility. Plaintiff has difficulty grasping with his hands also as a result of

      his disability. As such, he is substantially limited in performing one or more major life

      activities, including but not limited to, standing and walking, as defined by the ADA and

      its regulations thereto. On or about August 26, 2016, Plaintiff visited the property that

      forms the basis of this lawsuit as an overnight hotel guest and plans to return to the

      property to avail himself of the goods and services offered to the public at the property.

8.    Plaintiff is an avid adaptive sports enthusiast and participates regularly with the active

      local adaptive sports community, including hand cycle events and tennis in mid-

      Michigan. Leland Foster travels to the area to participate in adaptive sporting events at

      Michigan State University approximately once every two weeks, has many friends in the

      area whom he socializes with regularly, and frequents many establishments in the Ingham

      County region and has been a customer and stayed as an overnight guest at the property

      that forms the basis of this lawsuit. During the Plaintiff’s stay on the night of August 26,

      2016, Plaintiff encountered architectural barriers at the subject property that violate the

      ADA and its regulations.       The barriers to access at the property have endangered

      Plaintiff’s safety and caused him physical injury.

9.    Completely independent of the personal desire to have access to this place of public

      accommodation free of illegal barriers to access, Plaintiff also acts as a "tester" for the

      purpose of discovering, encountering, and engaging discrimination against the disabled in

      public accommodations. When acting as a "tester," Plaintiff employs a routine practice.

      Plaintiff personally visits the public accommodation; engages all of the barriers to access,

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       or at least all of those that Plaintiff is able to access; and tests all of those barriers to

       access to determine whether and the extent to which they are illegal barriers to access;

       proceeds with legal action to enjoin such discrimination; and subsequently returns to the

       premises to verify its compliance or non-compliance with the ADA and to otherwise use

       the public accommodation as members of the able-bodied community are able to do.

       Independent of other visits, Plaintiff also intends to visit the premises annually to verify

       its compliance or non-compliance with the ADA, and its maintenance of the accessible

       features of the premises. In this instance, Plaintiff, in Plaintiff’s individual capacity and

       as a “tester,” visited the Facility, encountered barriers to access at the Facility, and

       engaged and tested those barriers, suffered legal harm and legal injury, and will continue

       to suffer such harm and injury as a result of the illegal barriers to access and the ADA

       violations set forth herein.

10.    Plaintiff has a realistic, credible, existing and continuing threat of discrimination from the

       Defendant’s non-compliance with the ADA with respect to this property as described but

       not necessarily limited to the allegations contained in this complaint.         Plaintiff has

       reasonable grounds to believe that he will continue to be subjected to discrimination in

       violation of the ADA by the Defendant. Plaintiff desires to visit the Defendant’s place of

       business again on future occasions, not only to avail himself of the goods and services

       available at the property but to assure himself that this property is in compliance with the

       ADA so that he and others similarly situated will have full and equal enjoyment of the

       hotel and its amenities without fear of discrimination.

11.    The Defendant has discriminated against the individual Plaintiff by denying him access to

       the full and equal enjoyment of the goods, services, facilities, privileges, advantages

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         and/or accommodations of the buildings, as prohibited by 42 U.S.C. § 12182 et seq.

12.      The Defendant has discriminated and is continuing to discriminate, against the Plaintiff in

         violation of the ADA by failing to, inter alia, have accessible facilities by January 26,

         1992 (or January 26, 1993, if Defendant has 10 or fewer employees and gross receipts of

         $500,000 or less).

13.      A preliminary inspection of The Holiday Inn Express & Suites, including its facilities,

         has shown that many violations of the ADA exist. These violations include, but are not

         limited to:

Accessible Routes and Parking


         A. No accessible route from the parking lot to the hotel due to a non-compliant curb cut,
            in violation of the ADA whose remedy is readily achievable.

         B. Access aisles do not lead to an accessible route, in violation of the ADA whose
            remedy is readily achievable.

         C. There is no accessible route from the passenger loading zone into the hotel due to a
            curb, in violation of the ADA whose remedy is readily achievable.

         D. There is no marked access aisle in the passenger loading area, in violation of the
            ADA whose remedy is readily achievable.


Lobby:

         E. The service transaction counter in the lobby designated for accessible patrons does
            not meet the width requirement of 36 inches prescribed by the 2010 Standards, in
            violation of the ADA whose remedy is readily achievable.

         F. Coffee dispensers and other amenities in the breakfast area are placed in excess of
            allowable reach range, in violation of the ADA whose remedy is readily achievable.

Public Restrooms:

         G. The toilet compartment door is not self-closing, in violation of the ADA whose
            remedy is readily achievable.

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      H. The coat hook mounted inside the toilet compartment is mounted in excess of
         allowable reach range, in violation of the ADA whose remedy is readily achievable.

      I. The toilet compartment lacks required clear floor space, in violation of the ADA
         whose remedy is readily achievable.

      J. The toilet compartment contains missing or non-compliant grab bars, in violation of
         the ADA whose remedy is readily achievable.

      K. The toilet paper dispenser is mounted in a location that interferes with use of the grab
         bar, in violation of the ADA whose remedy is readily achievable.

      L. The water closet is located in excess of 16”-18” from the wall to the centerline of the
         toilet, in violation of the ADA whose remedy is readily achievable.

      M. There is lacking or insufficient latch side maneuvering clearance to exit men’s
         restroom, in violation of the ADA whose remedy is readily achievable.

Pool Area:

      N. The adaptive pool lift was covered and rendered inoperable, in violation of the ADA
         whose remedy is readily achievable.

      O. Tables in the pool area do not have the required knee and toe clearances, in violation
         of the ADA whose remedy is readily achievable.

      P. Pool area restroom contains a water closet with flush controls not mounted on the
         open side of the unit, in violation of the ADA whose remedy is readily achievable.

      Q. Pool area restroom contains a toilet compartment with a door that is not self-closing,
         in violation of the ADA whose remedy is readily achievable.

      R. Fitness amenities are mounted in excess of allowable reach range, in violation of the
         ADA whose remedy is readily achievable.

The Designated Mobility Accessible Guestrooms

      S. The fixed shower seat in the roll-in shower was not properly maintained in violation
         of the requirement of maintenance of accessible features. Whereas, the shower seat
         was mounted improperly causing it to angle dangerously to the floor, in violation of
         the ADA whose remedy is readily achievable.

      T. The roll-in shower faucet controls are not located pursuant to the code requirements,
         in violation of the ADA whose remedy is readily achievable.

      U. The shower handheld adjustable spray units are not equipped with an on/off control
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           and non-positive shut-off, in violation of the ADA whose remedy is readily
           achievable.

       V. Upon information and belief, there are many features in the designated accessible
          guestrooms that are non-compliant with the implementing regulations of the
          Americans with Disabilities Act and require further inspection and documentation.

Policies and Procedures

       W. The Defendant lacks or has inadequate defined policies and procedures for the
          assistance of disabled patrons, in contravention of the ADA whose remedy is readily
          achievable.


14.    The discriminatory violations described in Paragraph 13 by Defendant CENTRAL

       MICHIGAN INNS, INC. is not an exclusive list of the Defendant’s ADA violations.

       Plaintiff requires further inspection of the Defendant’s place of public accommodation

       and facilities in order to photograph and measure all of the discriminatory acts violating

       the ADA and all of the barriers to access. The Plaintiff has been denied access to

       Defendant’s accommodations; benefit of services; activities; and has otherwise been

       discriminated against and damaged by the Defendant, as set forth above. The individual

       Plaintiff, and all others similarly situated will continue to suffer such discrimination,

       injury and damage without the immediate relief provided by the ADA as requested

       herein.   In order to remedy this discriminatory situation, the Plaintiff requires an

       inspection of the Defendant’s place of public accommodation, facilities and operations in

       order to determine all of the areas of non-compliance with the Americans with

       Disabilities Act.

                                COUNT I
             VIOLATION OF THE AMERICANS WITH DISABILITES ACT

15.     Plaintiff restates the allegations of ¶¶1-14 as if fully rewritten here.

16.     The hotel at issue, as owned and operated by CENTRAL MICHIGAN INNS, INC.,
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        constitutes a public accommodation and service establishment, and as such, must be, but

        is not, in compliance with the Americans with Disabilities Act ("ADA") or Americans

        with Disabilities Act Accessibility Guidelines ("ADAAG").

17.     Plaintiff was unlawfully denied full and equal enjoyment of the goods, services, facilities,

        privileges, and advantages of the property on the basis of disability due to Defendant’s

        failure to comply with Title III of the Americans with Disabilities Act and its

        accompanying regulations, as prohibited by 42 U.S.C. § 12182, et seq. Defendant will

        continue to discriminate against Plaintiff and others with disabilities unless and until

        Defendant is compelled to remove all physical barriers that exist at the facility, including

        those specifically set forth herein, and make the facility accessible to and usable by

        persons with disabilities, including Plaintiff.

18.     The Plaintiff, and others similarly-situated, is presently without adequate remedy at law

        and is damaged by irreparable harm.           Plaintiff reasonably anticipates that he will

       continue to suffer irreparable harm unless and until Defendant is required to remove the

       physical barriers, dangerous conditions, and ADA violations that exist at the Facility,

       including those set forth herein.

19.    Pursuant to 42 U.S.C. §12187, Plaintiff requests that the Court issue an injunction

       requiring Defendant to make such readily achievable alterations as are legally required to

       provide full and equal enjoyment of the goods, services, facilities, privileges, and

       advantages on its property to disabled persons. In connection with that relief, Plaintiff

       requests reasonable attorney’s fees and costs of maintaining this action.

                             COUNT II
 VIOLATION OF MICHIGAN PERSONS WITH DISABILITIES CIVIL RIGHTS ACT
                        M.C.L. § 37.1301 et seq.

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20.    Plaintiff restates the allegations of ¶¶1 - 1 9 as if fully rewritten here.

21.    CENTRAL MICHIGAN INNS, INC. operates a "place[s] of public accommodation"

       pursuant to M.C.L §37.1301(a).

22.    Defendant committed an unlawful act pursuant to M.C.L §37.1302(a) by denying Plaintiff

       the full enjoyment of its goods, services, accommodations, advantages, facilities, or

       privileges. The unlawful acts have caused Plaintiff Foster actual injury.

23.    Whereas, on August 26-27th, 2016 Plaintiff was an overnight guest at the hotel of

       Defendant. In the morning of August 27, 2016, Leland Foster attempted to use the roll-in

       shower in the designated mobility accessible guestroom. The fixed shower seat in the

       roll-in shower was not properly maintained, in violation of the ADA’s requirement of

       maintenance of accessible features, specifically the shower seat was mounted improperly

       causing it to angle dangerously to the floor. The steep angle caused Foster to slip off

       when attempting to use the equipment. Foster suffered a bruised tailbone when he fell

       from the fixed shower seat.

24.    Furthermore, as a result of the Defendant failure to provide a handheld adjustable spray

       units in the shower that are equipped with an on/off control and non-positive shut-off as

       required by the ADA, Foster could not turn off the spraying water after suffering his fall

       and Plaintiff had to crawl through pooling water to get to a phone to call for help. He

       was taken by ambulance to a nearby hospital.

25.    Hotel management asked Mr. Foster why he wasn't traveling with his attendant and

       further embarrassed and humiliated Mr. Foster, who vigorously explained to staff that he

       is an independent adult who is capable of traveling without assistance, provided the

       facilities are properly equipped to comply with the ADA.

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26.     The above caused Foster bodily injury, pain and suffering, out of pocket medical

        expenses, embarrassment, and other damages.

27.     Pursuant to M.C.L §37.1606, Plaintiff is entitled to compensatory and exemplary damages,

        and attorneys’ fees and costs, in an amount to be determined at trial, but in any event not

        less than $25,000.00, as well as issuance of an injunction requiring Defendant to allow

        full and equal enjoyment of its goods, services, facilities, privileges, and advantages to

        disabled persons.

                                  COUNT III
                     DEFENDANT’S NEGLIGENCE CAUSING
                PERONSAL INJURIES TO PLAINTIFF LELAND FOSTER
                          ON DEFENDANT’S PREMISES


28.     Plaintiff restates the allegations of ¶¶1-27 as if fully rewritten here.

29.     On August 26-27, 2017 Leland Foster was an overnight guest at the Holiday Inn Express

        & Suites Lansing-Okemos owned and operated by the Defendant.

30.     In the morning of August 27, 2016, Leland Foster attempted to use the roll-in shower in

        the designated mobility accessible guestroom. The fixed shower seat in the roll-in

        shower was not properly maintained, in violation of the ADA’s requirement of

        maintenance of accessible features, specifically the shower seat was mounted improperly

        causing it to angle dangerously to the floor. The steep angle caused Foster to slip off

        when attempting to use the equipment. Foster suffered a bruised tailbone when he fell

        from the fixed shower seat.

31.     The Defendant, an innkeeper, owes its guests a higher duty of care and act negligently if

        they fail to reasonably protect a guest from foreseeable harm.

32.     It was foreseeable and substantially certain to the Defendant and their agents, given their

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        advance knowledge that this customized designated mobility accessible guestroom would

        be used by persons with a disability, that failure to maintain the accessible features would

        result in serious injuries and/or would expose Leland Foster to such risk.

33.     The above mentioned injuries to Leland Foster was directly and proximately caused by

        the carelessness, negligence, and/or negligence as a matter of law of the Defendants and

        their agents.

34.     As a direct and proximate result of the carelessness and negligence of the Defendant, the

        Plaintiff Leland Foster sustained serious physical injury, including injury to his tailbone

        which required treatment.

35.     As a direct and proximate result of the carelessness and negligence of the Defendant, the

        Plaintiff Leland Foster has incurred medical expenses exceeding $5,000.



WHEREFORE, Plaintiff demands,

         For COUNT I, an injunction requiring Defendant to make all readily achievable

        alterations and institute policies and procedures to allow full and equal enjoyment of the

        goods, services, facilities, privileges, and advantages to disabled persons, and the

        reasonable attorneys’ fees and costs of maintaining this action; and,



        For COUNT II, compensatory and exemplary damages, attorneys’ fees and costs, in an

        amount to be determined at trial, but in any event not less than $25,000.00, as well as

        issuance of an injunction requiring Defendant to allow full and equal enjoyment of the

        goods, services, facilities, privileges, and advantages to disabled persons.



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  For COUNT III, compensatory and exemplary damages, in an amount to be determined

  at trial, but in any event not less than $5,000.00 or amounts which fully and fairly

  compensate him for his individual injuries and damages, for costs of this action, for

  interest as allowed by law, and for all other relief just and proper in the premises.



                                         Respectfully Submitted,

                                         Counsel for Plaintiff:

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